    Case 10-93904-BHL-11           Doc 352 Filed 03/11/11 EOD 03/11/11 15:28:02          Pg 1 of 2
                                   SO ORDERED: March 11, 2011.




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                                   Basil H. Lorch III
                                   United States Bankruptcy Judge




                              UNITED STATES BANKRUPTCY COURT                        SGENERIC (rev 11/2010)
                                SOUTHERN DISTRICT OF INDIANA
                                     121 W Spring St Rm 110
                                      New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                                       Case Number:
       SSN: NA               EIN: NA                                 10−93904−BHL−11
    Debtor(s)

                                                   ORDER

      A(n) Motion to Remove Document Pursuant to Fed.R.Bankr.P. 9037 was filed with the
Clerk of Court on March 9, 2011, by Petitioning Creditor Superior Livestock Auction, Inc.

     IT IS THEREFORE ORDERED that the Motion to Remove Document Pursuant to
Fed.R.Bankr.P. 9037 is GRANTED. The Clerk of Court is directed to remove the following
document(s) from the record:
      Exhibit A filed on February 25, 2011 as docket entry #294
      Exhibit B filed on February 25, 2011 as docket entry #294
      Exhibit C Part 1 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 10 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 2 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 3 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 4 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 5 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 6 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 7 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 8 filed on February 25, 2011 as docket entry #294
      Exhibit C Part 9 filed on February 25, 2011 as docket entry #294
      Exhibit D filed on February 25, 2011 as docket entry #294
      Exhibit E filed on February 25, 2011 as docket entry #294
      Exhibit F Part 1 filed on February 25, 2011 as docket entry #294
      Exhibit F Part 10 filed on February 25, 2011 as docket entry #294
      Exhibit F Part 11 filed on February 25, 2011 as docket entry #294
      Exhibit F Part 12 filed on February 25, 2011 as docket entry #294
      Exhibit F Part 13 filed on February 25, 2011 as docket entry #294
Case 10-93904-BHL-11          Doc 352      Filed 03/11/11      EOD 03/11/11 15:28:02   Pg 2 of 2

 Exhibit F Part 14 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 15 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 16 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 17 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 2 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 3 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 4 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 5 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 6 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 7 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 8 filed on February 25, 2011 as docket entry #294
 Exhibit F Part 9 filed on February 25, 2011 as docket entry #294
 Exhibit G filed on February 25, 2011 as docket entry #294
 Exhibit H Part 1 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 2 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 3 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 4 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 5 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 6 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 7 filed on February 25, 2011 as docket entry #294
 Exhibit H Part 8 filed on February 25, 2011 as docket entry #294
 Exhibit I filed on February 25, 2011 as docket entry #294
 Exhibit J filed on February 25, 2011 as docket entry #294
 Main Document filed on February 25, 2011 as docket entry #294

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